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                                BILL OF COSTS

               TEXAS COURT OF APPEALS, TENTH DISTRICT, AT WACO

                             No. 10-14-00349-CV

                               Robert Williams

                                     v.

           Russell Parker, Individually and Heir of Lawanna Keeth

         (No. C201100640 IN 249th District Court OF Johnson COUNTY)

|Type of Fee                    |Charges |Paid             |By                   |
|Motion fee                     |$10.00  |E-PAID           |Anna Maria Reilly    |
|Motion fee                     |$15.00  |E-PAID           |Endres               |
|Supplemental clerk's record    |$41.00  |UNKNOWN          |ERIC REYES           |
|Motion fee                     |$15.00  |E-PAID           |Anna Maria Reilly    |
|Motion fee                     |$15.00  |E-PAID           |Anna Maria Reilly    |
|Motion fee                     |$10.00  |E-PAID           |Reyes                |
|Motion fee                     |$10.00  |E-PAID           |Reilly               |
|Supplemental clerk's record    |$45.00  |UNKNOWN          |                     |
|Supplemental clerk's record    |$44.00  |UNKNOWN          |                     |
|Clerk's record                 |$660.00 |UNKNOWN          |Reyes                |
|Filing                         |$100.00 |E-PAID           |Reilly               |
|Supreme Court chapter 51 fee   |$50.00  |E-PAID           |Reilly               |
|Indigent                       |$25.00  |E-PAID           |Reilly               |
|Required Texas.gov efiling fee |$20.00  |E-PAID           |Reilly               |


  Balance of costs owing to the Tenth Court of Appeals, Waco, Texas:  0.00
 Court costs in this cause shall be paid as per the Judgment issued by this
                                   Court.

      I, SHARRI ROESSLER, CLERK OF THE TENTH COURT OF APPEALS OF  THE  STATE
OF TEXAS, do hereby certify that the above  and  foregoing  is  a  true  and
correct copy of the cost  bill  of  THE  COURT  OF  APPEALS  FOR  THE  TENTH
DISTRICT OF TEXAS, showing the charges and payments, in the  above  numbered
and styled cause, as the same appears of record in this office.

                                  IN TESTIMONY WHEREOF, witness my hand  and
                                  the Seal of the COURT OF APPEALS  for  the
                                  Tenth District of Texas, this November 12,
                                  2015.


                                  SHARRI ROESSLER, CLERK
                                  By:   ___________________________
                                        Nell Hegefeld, Deputy Clerk



